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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS                                         ENTERED
                                                                                              05/08/2020
                                 HOUSTON DIVISION

                                                 §
In re:                                           §     Chapter 11
                                                 §
WATSON GRINDING &                                §     Case No. 20-30967 (MI)
MANUFACTURING CO.                                §
                                                 §
             Debtors.                            §



                                                 §
In re:                                           §     Chapter 11
                                                 §
WATSON VALVE SERVICES, INC.                      §     Case No. 20-30968 (MI)
                                                 §
                                                 §
             Debtor.                             §

                 ORDER (I) MODIFYING THE AUTOMATIC STAY,
       (II) SETTING THE DEADLINE FOR FILING NOTICES OF REMOVAL,
       (III) SETTING THE DEADLINE FOR FILING MOTIONS TO REMAND,
      AND (IV) SCHEDULING OMNIBUS HEARING ON MOTIONS TO REMAND
                            [Relates to Doc. No. 265]

         The Court has considered the Motion to (I) Modify the Automatic Stay, (II) Setting the

Deadline for Filing Notices of Removal, (III) Setting the Deadline for Filing Motions to Remand,

and (IV) Scheduling Omnibus Hearing on Motions to Remand (the “Motion”). The Court has

jurisdiction over the Motion and the relief requested pursuant to 28 U.S.C. § 1334. Consideration

of the Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and the Court may enter a final

order regarding the Motion. The Court finds that the relief requested in the Motion is in the best

interest of the estate, its creditors, and other parties in interest. Accordingly, it is THEREFORE

ORDERED that:




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        1.      Effective as of May 15, 2020, the automatic stay is temporarily modified to allow

any party to:

                   a. Amend complaints or petitions in pending non-bankruptcy actions (for the
                      avoidance of doubt, amend complaints or petitions in pending non-
                      bankruptcy actions that have not been removed to federal court) for the
                      purpose of adding claims and causes of action against the Debtors;

                   b. Add the Debtors as a defendant in pending non-bankruptcy actions; and

                   c. File suit against WGM, WVS or both of the Debtors.

        2.      July 8, 2020 shall be the deadline for parties to:

                   a. Amend complaints or petitions in pending non-bankruptcy actions for the
                      purpose of adding claims and causes of action against the Debtors;

                   b. Add the Debtors as a defendant in pending non-bankruptcy actions; and

                   c. File suit against WGM, WVS or both of the Debtors.

        3.      The deadline for filing notices of removal of non-bankruptcy actions against the

Debtor is August 7, 2020.

        4.      The deadline for filing motions to remand and motions to withdraw the reference

of the removed actions is August 31, 2020.

        5.      Objections to timely filed motions to remand and motions to withdraw the reference

of the removed actions shall be due on September 30, 2020.

        6.      On October 22, 2020, at 9:00 a.m., the Court will conduct an omnibus evidentiary

hearing on all motions to remand and motions to withdraw the reference of the removed

actions.

        7.      To the extent that the automatic stay is in effect at the time of the Court’s ruling on

the motions to remand, the automatic stay shall be modified to allow the remanded cases to

continue through entry of a final judgment; provided that no party may attempt to collect any

judgment against the Debtors, property of the Debtors’ estate, or the proceeds of any insurance


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policy of the Debtors. This paragraph is subject to confirmation of a Chapter 11 Plan. To the extent

that an order confirming a Chapter 11 plan contradicts any provision within this Order, the

confirmation order shall govern.

       8.      Nothing in this Order modifies the deadline for parties to timely file the statement

regarding consent to entry of final orders or judgment required by Federal Rule of Bankruptcy

Procedure 9027(e)(3).

       9.      Nothing in this Order limits any party in interest from seeking additional relief from

the automatic stay which is not specifically granted in this Motion.

       10.     Nothing in this Order limits any party in interest from seeking an extension or

continuance of the dates set forth in this Order for cause shown.

       11.     Nothing in this Order shall constitute an admission or waiver of any party’s rights,

claims, or defenses nor shall it prejudice any party’s rights or positions in relation to removal of

any lawsuits, jurisdiction, remand/abstention, and withdrawal of the reference.

       Signed: May 8, 2020.
Signed: May 08, 2020
        October 17, 2018

                                                ____________________________________
                                                              Marvin Isgur
                                                    United States
                                      HONORABLE MARVIN     ISGUR  Bankruptcy Judge
                                      UNITED STATES BANKRUPTCY JUDGE




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